Rex Shannon

From:                Navketan Aujla <Navketan_Desai@mssd.uscourts.gov>
Sent:                Tuesday, June 6, 2023 9:32 AM
To:                  bcline@cov.com; crhode@bellsouth.net; Gerald Kucia; gguzy@cov.com; holdereh@cov.com;
                     jschottenfeld@naacpnet.org; mcrowley@cov.com; mlynch@cov.com; Rex Shannon
Cc:                  crhodes6@bellsouth.net; docketing@cov.com; rhodeslf@bellsouth.net; Susie Bowen
Subject:             RE: 3:23-cv-00272-HTW-LGI National Association for the Advancement of Colored People et al v.
                     Reeves et al


Good Morning, All:

Please note a typographical error in this court’s previous correspondence:

The last paragraph should read: “[T]he Order Staying Attorney Conference, Disclosure Requirements, and all Discovery
[Docket no. 36] is NOW moot, as Defendant Governor Reeves has been voluntarily dismissed…”

Thank you.

‐Navketan Aujla
From: Navketan Aujla
Sent: Friday, June 2, 2023 9:12 AM
To: bcline@cov.com; crhode@bellsouth.net; gerald.kucia@ago.ms.gov; gguzy@cov.com; holdereh@cov.com;
jschottenfeld@naacpnet.org; mcrowley@cov.com; mlynch@cov.com; rex.shannon@ago.ms.gov
Cc: crhodes6@bellsouth.net; docketing@cov.com; rhodeslf@bellsouth.net; susie.bowen@ago.ms.gov
Subject: 3:23‐cv‐00272‐HTW‐LGI National Association for the Advancement of Colored People et al v. Reeves et al

Good Morning, All:

Please see below message from Judge Wingate‐

On yesterday, June 1, 2023, this court entered its Order re: Judicial Immunity and dismissed Defendant Chief Justice
Randolph from this litigation.
What position do the parties take on the preliminary injunction placed over this case by the court on May 12, 2023, and
the extension last entered on May 23, 2023.
Please respond by Tuesday, June 6, 2023 by 5:00 PM at the latest.

Further, please note that the Order Staying Attorney Conference, Disclosure Requirements, and all Discovery [Docket
no. 36] is not moot, as Defendant Governor Reeves has been voluntarily dismissed from this suit. If any party herein
requests a stay of this matter, said party is instructed to file the proper motion on ECF.

Thank you.




Navketan Aujla
Law Clerk to Hon. Henry T. Wingate
United States District Court
                                                            1
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